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Honorable John G. Koeltl
Daniel Patrick Moynihan
United States Courthouse,
Courtroom 14A
500 Pearl St.
New York, NY 10007-1312



Dear Judge Koeltl,

       My name is Natalie Mashinsky, and I am Alex Mashinsky’s youngest daughter.
Throughout my life, my dad has been an unwavering source of support, always encouraging me
to grow as an individual in every aspect of my life. He constantly inspires me to focus on my
education, pursue my passions, and—most importantly—to work hard.

        From a young age, I admired my dad’s work ethic. But as I grew older, I came to
understand that it wasn’t just about hard work—it was about his passion. He wasn’t simply doing
a job; he was deeply invested in his work, driven by a genuine desire to make a difference. He
viewed his work as something much larger than himself, a way to contribute meaningfully to
society. This passion for making an impact is something that has always inspired me and shaped
my own aspirations.

        As I enter college this year, I cannot imagine going through the experience without my
dad’s support. It is very difficult for all of us to understand how our dad, who has always instilled
values such as kindness, hard work, and honesty, has ended up in a position that he simply does
not deserve. He has always been someone who strives to do right by others, and I hope that his
true character will be considered as you weigh your decision.

Thank you for your time and consideration.

Sincerely,
Natalie Mashinsky




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